VIA ECF
The Honorable James R. Cho
Magistrate Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

  Re:     Corrected Proposed Scheduling Order.
        Carlo v. Abrams Fensterman, LLP, et al., Case 1:24-cv-03643-NRM-JRC

Your Honor:
        The undersigned represents Plaintiff in the above-entitled action against the debt collection
law firm Abrams Fensterman, LLP and its partner Nicholas Corona, Jr. for their violations of the
FDCPA.
        The proposed scheduling order filed by the undersigned on July 11, 2024 failed to include
the attorney information and electronic signature for the Defendants’ attorney despite counsel
having conferred and jointly submitted it. Attached to this letter is the same scheduling order with
that information added. Plaintiff apologizes for the clerical error.
Sincerely,
/s/
Emma Caterine




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